Case 2:03-Cr-20212-BBD Document 66 Filed 07/21/05 Page 1 of 3 Page|D 85

IN THE UNITED STATES DISTRICT COURT paso sr cyr oc.
FoR THE wEerRN DISTRICT 0F TENNESSEE
wESTERN DIVISION 05 JUL 21 AH \|= h5

 

 

UNITED STATES OF AMERICA
Plaintiff,

VS CASE NO. 03-20212-D

WAYNE P. EDMONDSON

)

)

)

)

)

)

)

)

Defendant. )
)

 

*A*M*E*N*D*E*D* ORDER TO SURRENDER

 

The defendant, Wayne P. Edrnondson, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to USP McCreary,
330 Federal Way, Pine Knot, Kentucky 42635 by 2:00 p.m. on *TUESDAY, OCTOBER 11, 2005.
IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-
addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she will
report as ordered to the facility named above.

ENTERED this th@§{_ day ofJuly, 2005

Qa::,%%w

FUICE B. DONALD
_ BNITED STATES DISTRICT JUDGE

  

Thls document entered on the docket sheet f
with Plu|e 55 and/or 32(b) FF|CrP on

Case 2:03-Cr-20212-BBD Document 66 Filed 07/21/05 Page 2 of 3 Page|D 86

ACKNOWLEDGEMENT

l agree to report as directed above and understand that
if l fail to report, l may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

   

UNITED SATE DISTRICT COURT - W"RTE DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:03-CR-202]2 was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

